
556 P.2d 1256 (1976)
In the Matter of D.P., a minor, Appellant.
v.
STATE of Alaska, Appellee.
No. 2857.
Supreme Court of Alaska.
December 17, 1976.
Christopher R. Cooke, Rice, Hoppner &amp; Hedland, Bethel, for appellant.
Avrum M. Gross, Atty. Gen., Juneau, Joseph D. Balfe, Dist. Atty., Anchorage, and Victor Krumm, Asst. Dist. Atty., Bethel, for appellee.
Before BOOCHEVER, C.J., and RABINOWITZ, CONNOR, ERWIN and BURKE, JJ.

OPINION
PER CURIAM.
In this appeal the Attorney General for the State of Alaska has confessed error with regard to the admission of a statement made by the juvenile D.P. The statement in question was admitted into evidence at an adjudicatory hearing to which the minor was a party. The statement was obtained by the police after continued questioning during which the juvenile repeatedly requested that he not be questioned and stated that he did not wish to speak to the police. At the time of the subject questioning the juvenile was alone, i.e., without the presence of a parent, guardian, or attorney.
The Attorney General confesses error based on the cases of Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966), and Michigan v. Mosley, 423 U.S. 96, 96 S.Ct. 321, 46 L.Ed.2d 313, 321 (1976).
We have reviewed this case under the principles announced in Marks v. State, 496 P.2d 66, 67-68 (Alaska 1972), regarding the receipt of a confession of error by the Attorney General, and find that the confessed error is supported by the record and has legal foundation. Therefore, the findings and judgment dated October 28, 1975, are REVERSED and this case is REMANDED for further proceedings in the superior court. Further, it is ordered that D.P. be immediately released from custody pending further proceedings, if any.
